              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:07-cr-00033-MR-DLH-3


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )               ORDER
                                )
JEANNIE LARGENT COSBY,          )
                                )
                   Defendant.   )
_______________________________ )


      THIS MATTER is before the Court on the Defendant’s letters [Docs.

573, 574], which the Court construes, collectively, as a motion for a reduction

of sentence pursuant to 18 U.S.C. § 3582(c)(2) and Amendment 794.

      On June 7, 2007, the Defendant pleaded guilty pursuant to a written

plea agreement to conspiracy to possess with intent to distribute crack

cocaine, in violation of 21 U.S.C. §§ 846 and 841(a)(1). The Defendant was

determined to be a career offender and was sentenced on October 31, 2007

to a term of 168 months’ imprisonment. [Doc. 185]. The Defendant did not

file a direct appeal.

      In her motion, the Defendant moves pursuant to 18 U.S.C. § 3582(c)(2)

to reduce her sentence based on Amendment 794 of the United States



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Sentencing Guidelines, which became effective on November 1, 2015. [Doc.

573].

        The Sentencing Guidelines Manual does not specify Amendment 794

as a retroactively applicable amendment. See U.S.S.G. § 1B1.10(d) (2015).

Even assuming that Amendment 794 could be applied retroactively,

however, it would not affect the Defendant’s sentence. Amendment 794

amended the commentary to U.S.S.G. § 3B1.2 in order to provide a list of

non-exhaustive factors for the sentencing court to consider in determining

whether to apply a mitigating role adjustment. See U.S.S.G. app. C, amend.

794, at 116. Here, the Presentence Report makes clear that the Defendant

was far more than a minor or minimal participant in the subject conspiracy.

In fact, the PSR notes that the Defendant was “active in the use and

distribution of cocaine base from the beginning of the conspiracy,” and that

she stipulated to being responsible for at least 50 grams but less than 150

grams of cocaine base. [See Doc. 488 at 5]. Thus, Amendment 794 has no

bearing on the Defendant’s case.

        Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

letters [Docs. 573, 574], which the Court construes as a motion for a

reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) and Amendment

794, is DENIED.

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  IT IS SO ORDERED.
                            Signed: July 26, 2016




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